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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
MORLOCK, L.L.C. §
Plaintiff, §
§
v. § Civil Action No. 4:21-cv-03202
5
REGINALD PETTEWAY AND THE §
BANK OF NEW YORK MELLON, §
TRUSTEE §
Defendants. §

FINAL JUDGMENT
On September 23, 2024, the Court issued a Memorandum and Opinion in which
the Court granted Plaintiff Morlock, L.L.C.’s Motion For Summary Judgment (Dkt. No. 17) and
denied Defendant The Bank of New York — Mellon, FKA The Bank of New York, as Trustee For
the Certificateholders of the SWABS, Inc., Asset — Backed Certificate Series 2006-08’s
(“BONY”) Motion For Summary Judgment (Dkt. No. 20). Based on the Memorandum and
Opinion it is:

1. ORDERED, ADJUDGED and DECREED that Plaintiff Morlock, L.L.C.’s Motion
for Summary Judgment (Dkt. No. 17) is GRANTED;

2. ORDERED, ADJUDGED AND DECREED that BONY’s Motion For Summary
Judgment (Dkt. No. 20) is DENIED;

3. ORDERED, ADJUDGED, DECLARED and DECREED that Morlock, L.L.C., is
granted a judgment for title and possession of the real property (the “Property”) located at 14431
Daly Drive, Houston, Texas 77077 which is described as:

LOT FIFTEEN (15), IN BLOCK THREE (3) OF TERRACES ON
MEMORIAL AN ADDITION IN HARRIS COUNTY, TEXAS

ACCORDING TO THE MAP OR PLAT THEREOF RECORDED
UNDER FILM CODE NO. 582199 OF THE MAP RECORDS OF
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HARRIS COUNTY, TEXAS ALSO KNOWN AS 19431 DALY
DRIVE, HOUSTON, TEXAS 77041.

4. ORDERED, ADJUDGED, DECLARED and DECREED that all liens of
Defendant, The Bank of New York Mellon FKA the Bank of New York, as Trustee for the
Certificateholders of the CWABS,, Inc., Asset-Backed Certificate Series 2006-08, on the Property,
including the Deed of Trust dated July 26, 2006, filed for record under County Clerk’s File No.
7485809 in the Official Public Records of Harris County, Texas, are hereby declared VOID and
are STRICKEN as a clouds on Plaintiff Morlock’s L.L.C.’s title to the Property;

ot ORDERED, ADJUDGED, DECLARED and DECREED that Plaintiff, Morlock,
L.L.C. is the owner of the Property, free and clear of any liens held by Defendant The Bank of
New York Mellon, Trustee, FKA the Bank of New York as Trustee for the Certificateholders of
the CWABS ,, Inc., Asset-Backed Certificate Series 2006-08;

6. ORDERED, ADJUDGED and DECREED that Counterplaintiff The Bank of New
York Mellon FKA the Bank of New York, as Trustee for the Certificateholders of the CWABS
Asset-Backed Certificate Series 2006-08 take nothing on its Counterclaim against
Counterdefendant Morlock, L.L.C.;

7. ORDERED that all claims asserted against Defendant Reginald Petteway are
DISMISSED;

8. ORDERED that the Clerk of the Court return the cash bond in the sum of $3,000.00
for the Temporary Restraining Order (Dkt. No. 16) signed by the Court on June 5, 2023, to
Morlock, L.L.C, and that the Clerk execute a check from the Court Registry payable to Morlock,
L.L.C., and deliver the check to its attorney Jerry L. Schutza, 808 Travis St., Ste. 1005, Houston,
Texas 77002.

9. ORDERED that each party shall pay its own attorney’s fees;
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10. ORDERED, ADJUDGED and DECREED that all costs shall be paid by the party
incurring the cost; and
11. ORDERED, ADJUDGED and DECREED that all relief not expressly granted
herein is denied.
This judgment finally disposes of all parties and all claims and 1s appealable.
A certified copy of this judgment may be recorded in the Official Public Records
of Real Property of Harris County, Texas.

Executed on this _ day of , 2024

HONORABLE DREW B. TIPTON
U.S. DISTRICT JUDGE

ed
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APPROVED:

By: 4s/ Jerry L. Schutza

Jerry L. Schutza

SBN: 17853800

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ATTORNEY FOR PLAINTIFF
MORLOCK, L.L.C.

APPROVED AS TO FORM ONLY:

By: /s/ Michael Weems
Michael Weems

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ATTORNEY FOR DEFENDANT

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THE BANK OF NEW YORK MELLON, TRUSTEE
